     Case 3:22-cv-05416-WHO Document 13-1 Filed 09/27/22 Page 1 of 8



 1   Thomas L. Simek (DC Bar #57268)
     Anthony C. Biagioli (MO Bar # 72434)
 2   Attorneys for Plaintiff
     COMMODITY FUTURES TRADING COMMISSION
 3   2600 Grand Boulevard, Suite 210
     Kansas City, MO 64108
 4   Telephone: (816) 960-7700
     tsimek@cftc.gov
 5   abiagioli@cftc.gov

 6

 7

 8
                             UNITED STATES DISTRICT COURT
 9                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                SAN FRANCISCO DIVISION
10

11                                                     )
                                                       )
12                                                     )
                                                       )
13    Commodity Futures Trading Commission,            )    DECLARATION OF BRITTNE
                                                       )    SNYDER IN SUPPORT OF
14                                Plaintiff,           )    PLAINTIFF’S ADMINISTRATIVE
                                                       )    MOTION TO SUPPLEMENT
15                           v.                        )    MOTION FOR ALTERNATIVE
                                                       )    SERVICE AGAINST DEFENDANT
16    Ooki DAO (formerly d/b/a bZx DAO), an            )    OOKI DAO PURSUANT TO 28
      unincorporated association,                      )    U.S.C. § 1746
17                                                     )
                                  Defendant.           )
18                                                     )

19
            I, Brittne Snyder, declare pursuant to 28 U.S.C. § 1746 based upon my personal
20
     knowledge as follows:
21

22          1.     I am over 21 years of age and am legally fit and qualified to testify in a court of

23   law.
24          2.     I am employed as a Paralegal by the Division of Enforcement (“Division”) of the
25
     Commodity Futures Trading Commission (“Commission”), located at 2600 Grand Boulevard,
26
     Suite 210, Kansas City, Missouri 64108.
27

28
                                                     -1-
                                       DECLARATION OF BRITTNE SNYDER
     Case 3:22-cv-05416-WHO Document 13-1 Filed 09/27/22 Page 2 of 8



 1          3.      I have personal knowledge of the facts stated herein, and if called to testify, I
 2   could and would competently testify to the same.
 3
            4.      On September 27, 2022, shortly after filing the Commission’s Motion for
 4
     Alternative Service Against Defendant Ooki DAO (“Motion for Alternative Service”) (ECF No.
 5
     11), I discovered that, approximately contemporaneous with or shortly after the Commission
 6

 7   filed the Motion for Alternative Service, a post appeared in the Ooki DAO’s Online Forum

 8   (forum.ooki.com) titled “Future of Ooki DAO” and discussing the Commission’s litigation

 9   against the Ooki DAO. See Exhibit A (web capture of the Online Forum post).
10
            5.      As of the filing of this declaration, the Ooki DAO has not responded to multiple
11
     requests made on September 22 and 23, 2022—made through submissions in the Ooki DAO’s
12
     Help Chat Box on the Ooki DAO’s website and through posts in the Online Forum—to contact
13
     the CFTC to discuss this litigation.
14

15          I declare under penalty of perjury under the laws of the United States of America that the

16   foregoing is true and correct.
17          Executed September 27, 2022, at Kansas City, Missouri.
18
                                                                   /s/ Brittne Snyder
19                                                                 Brittne Snyder

20

21

22

23

24

25

26

27

28
                                                      -2-
                                      DECLARATION OF BRITTNE SNYDER
     Case 3:22-cv-05416-WHO Document 13-1 Filed 09/27/22 Page 3 of 8



 1                                    Exhibit A
 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                         -3-
                             DECLARATION OF BRITTNE SNYDER
9/27/22, 12:20 PM       Case 3:22-cv-05416-WHO Document   13-1
                                                   Future of       Filed
                                                             Ooki DAO      09/27/22
                                                                      - Ideas - Ooki Page 4 of 8




        Future of Ooki DAO

     notroman                                                                                        40m

     On September 22, 2022 the CFTC published on their website an announcement that a civil
     complaint was filed against Ooki DAO alleging Ooki DAO voting members violated provisions of
     the Commodities Exchange Act (CEA) in connection with developing a decentralized margin
     trading blockchain protocol and failing to utilize KYC for platform participation as required by CEA
     regulations.

     This Ooki DAO forum post is geared towards beginning discussion among DAO community
     members as to the appropriate response to the CFTC complaint. Potential actions could include
     any of the following:

             Ooki DAO voting to approve allocating Ooki treasury funds to be spent to retain legal
             counsel to represent Ooki DAO members.
             Ooki DAO voting to approve allocation of Ooki treasury funds for the DAO to continue
             operating and any future contingency runway.
             Ooki DAO voting to approve submitting a legal defense fund grant request on Gitcoin for
             members of the broader blockchain and DeFi community to support the legal defense of
             Ooki DAO.
             Ooki DAO voting to approve releasing an NFT to support Ooki DAO legal defense.

     Based on the theory articulated in the CFTC complaint, all DAO token holders could be found
     liable for any alleged wrongdoing based on DAO voting participation. As a result of this, the
     outcome of the Ooki DAO CFTC case could serve as precedent for other DAO’s in the
     cryptocurrency space and have far reaching implications for the entire cryptocurrency space as it
     pertains to liability of DAO voting members.

     Among DAO’s offering DeFi services such as trading, margin and lending Aave DAO,
     Compound DAO, Abracadabra DAO, Sushi DAO, Kyber DAO, Lido DAO, Uniswap DAO,
     Gitcoin DAO, and countless others would all be impacted by this litigation as the CFTC alleges
     that all DAO voting members are individually liable for voting in DAO’s.

     Because of the impact the legal matter between Ooki DAO and the CFTC may have on the
     cryptocurrency industry, some have stated that it is important Ooki DAO receive donations to
     support legal defense and legal support from the cryptocurrency community. Insofar as all DAO’s
     have a stake in the outcome, broad community support of Ooki DAO’s legal defense is critical.

     Following the announcement of the CFTC complaint, various cryptocurrency publications,
     twitter commentators, and legal blockchain associations have expressed concern with the
     CFTC’s approach alleging “regulation by enforcement”. Some twitter commentators speculated
     that
     Skip“They’re
           to main[regulators]
                   content targeting smaller players with fewer resources to establish favorable
     precedents.”
https://forum.ooki.com/t/future-of-ooki-dao/456
                                                                                               Exhibit A    1/5
9/27/22, 12:20 PM       Case 3:22-cv-05416-WHO Document   13-1
                                                   Future of       Filed
                                                             Ooki DAO      09/27/22
                                                                      - Ideas - Ooki Page 5 of 8

                    ross
                    @z0r0zzz

         Ok, so today the CFTC fined Ooki DAO and its members as an "unincorporated
         association" to tune of $250k —

         This is a very broad theory of liability ("joint and several") and confirms what crypto lawyers
         have suspected —

         cftc.gov/PressRoom/Pres…

         Let's untangle things: 🪡 https://t.co/zuGXoh2mmX




         2:51 AM - 23 Sep 2022                    230   62



                    6529
                    @punk6529

       1/ The CFTC bZX/OoKi enforcement action is interesting because of the last paragraph,
     Skip to main
       namely  thatcontent
                    the CFTC just looked through the DAO or "DAO" and said it is an

https://forum.ooki.com/t/future-of-ooki-dao/456
                                                                                                 Exhibit A   2/5
9/27/22, 12:20 PM       Case 3:22-cv-05416-WHO Document   13-1
                                                   Future of       Filed
                                                             Ooki DAO      09/27/22
                                                                      - Ideas - Ooki Page 6 of 8
         unincorporated association and the individuals are responsible.

         cftc.gov/PressRoom/Pres… https://t.co/iXRVdKpLMR




         10:23 PM - 22 Sep 2022                    430    150



                    db
                    @tier10k

         "The Commission defines the Ooki DAO unincorporated association as those holders of
         Ooki tokens that have voted on governance proposals with respect to running the business"

         If you are an Ooki token holder who voted on governance proposals you just got charged...
         twitter.com/tier10k/status…


             db @tier10k
             [DB] CFTC Charges Ooki DAO for for "Offering Illegal, Off-Exchange Digital-Asset
             Trading, Registration Violations, and Failing to Comply with Bank Secrecy Act"


         9:59 PM - 22 Sep 2022                    480    130



                    Hsaka
                    @HsakaTrades

         a16z probably offering their legal team to Ooki to fight this one.

         No one is more incentivized than them to make sure this doesn't set some precedents.
         twitter.com/tier10k/status…


             db @tier10k
     Skip "The
          to main content defines the Ooki DAO unincorporated association as those holders
               Commission
             of Ooki tokens that have voted on governance proposals with respect to running the
https://forum.ooki.com/t/future-of-ooki-dao/456
                                                                                                Exhibit A   3/5
9/27/22, 12:20 PM       Case 3:22-cv-05416-WHO Document   13-1
                                                   Future of       Filed
                                                             Ooki DAO      09/27/22
                                                                      - Ideas - Ooki Page 7 of 8
             business" If you are an Ooki token holder who voted on governance proposals you just
             got charged... https://t.co/eqek0aD3wU


         10:14 PM - 22 Sep 2022                   270   15



                    Rodrigo
                    @RSSH273

         1/ The CFTC’s complaint against Ooki DAO was a mistake that reveals a lack of
         understanding of crypto and continues the unfortunate trend of regulation by enforcement
         without the necessary industry guidance or the availability of real options for compliance

         12:27 AM - 24 Sep 2022                   170   35




     This concern was echoed in the CFTC’s dissent. Among CFTC chair members, there are also
     dissenting viewpoints of optimal paths forward in relation to DAO token holder liability. Some
     insight into this were provided in the recent dissenting statement of Commissioner Summer K.
     Mersinger:

     “We cannot arbitrarily decide who is accountable for those violations based on an unsupported
     legal theory amounting to regulation by enforcement while federal and state policy is developing…
     I cannot agree with the Commission’s approach of determining liability for DAO token holders
     based
     Skip toonmain
               theircontent
                     participation in governance voting…Although there are no allegations of any fraud
     having occurred here, we all are mindful of the need to protect customers who are participating in
https://forum.ooki.com/t/future-of-ooki-dao/456
                                                                                              Exhibit A   4/5
9/27/22, 12:20 PM       Case 3:22-cv-05416-WHO Document   13-1
                                                   Future of       Filed
                                                             Ooki DAO      09/27/22
                                                                      - Ideas - Ooki Page 8 of 8
     the largely unregulated crypto space. But those good intentions do not entitle the Commission to
     act through enforcement without proper legal authority, notice, or public input.”

     There is still time to help shape the future of DeFi regulation. Let’s come together and decide the
     next course of action.




https://forum.ooki.com/t/future-of-ooki-dao/456
                                                                                               Exhibit A   5/5
